        Case 9:22-cr-00023-DLC Document 12 Filed 04/28/22 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION

 UNITED STATES OF AMERICA,                               CR 22-23-M-DLC

                     Plaintiff,
                                                              ORDER
             vs.


 DEVA CRYSTAL HARTSOE,

                     Defendant.



      On April 28, 2022, Defendant Deva Hartsoe appeared before the Court for

her arraignment and initial appearance on the Indictment filed against her. The

Court advised Defendant of her rights relative to the charges. The United States

requested that Defendant be detained pending her trial. Defendant requested a

hearing on the issue of her release or detention to be set next week.

      Therefore, IT IS HEREBY ORDERED that Defendant’s detention hearing is

set for 10:00 a.m. on May 6, 2022, at the Russell Smith Courthouse in Missoula,

Montana.

      Pursuant to 18 U.S.C. § 3142(f)(2) the Defendant “shall be detained” during

a continuance of a detention hearing. THEREFORE, IT IS FURTHER ORDERED

the Defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the


                                          1
        Case 9:22-cr-00023-DLC Document 12 Filed 04/28/22 Page 2 of 2



extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal. The Defendant shall be afforded a reasonable opportunity

for private consultation with defense counsel. On order of a court of the United

States or on request of an attorney for the Government, the person in charge of the

corrections facility shall deliver the Defendant to the United States Marshal for the

purpose of an appearance in connection with a court proceeding.

      DATED this 28th day of April, 2022.



                                              ______________________________
                                              Kathleen L. DeSoto
                                              United States Magistrate Judge




                                          2
